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5
     Attorney for Defendant
     Edward Tulysewski
6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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9    UNITED STATES OF AMERICA,                       )       No. CR-S-11-134 JAM
                                                     )
                                                     )
10          Plaintiff,                               )       STIPULATION AND
11
                                                     )       ORDER CONTINUING SENTENCING
     v.                                              )
                                                     )
12
     EDWARD TULYSEWSKI, et al.,                      )       Date: , July 9, 2013
                                                     )       Time: 9:45 a.m.
13
                                                     )       Judge: Honorable John A. Mendez
            Defendants.                              )
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                                                     )
                                                     )
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                                                     )
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17          IT IS HEREBY stipulated between the United States of America through its undersigned

18   counsel, Michael M. Beckwith, Assistant United States Attorney, together with counsel for

19   defendant Edward Michael Tulysewski, Michael L. Chastaine, Esq., that the sentencing hearing

20   presently set for June 4, 2013 be continued to July 9, 2013, at 9:45 a.m., thus vacating the

21   presently set sentencing hearing.

22          Further, all of the parties, the United States of America and all of the defendants as stated

23   above, hereby agree and stipulate that the interests of justice served by granting this continuance

24   outweigh the best interests of the defendants and the public in a speedy trial and that time under

25   the Speedy Trial Act should be excluded under Title 18, United States Code Section

26   3161(h)(7)(A) and (B)(ii) and (iv), corresponding to Local Codes T-2 (unusual or complex case)

27   and T-4 (to allow defense counsel time to prepare) from the date of the parties’ stipulation,

28   February 5, 2013, to and including June 4, 2013.



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1           The requested continuance is to allow additional time for both sides to prepare for the
2    sentencing, to allow co-defendants to resolve their cases, and the fact that the defendant is
3    currently incarcerated at the Butte County Jail in Oroville, California; approximately 120 miles
4    roundtrip from downtown Sacramento. All parties agree that it is appropriate and necessary to
5    allow the co-defendants to resolve their cases prior to Mr. Tulysewski being sentenced.
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7    IT IS SO STIPULATED.
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9    Dated: May 31, 2013                                           /s/ Michael L. Chastaine
                                                                   MICHAEL L. CHASTAINE
10                                                                 Attorney for Defendant
                                                                   Edward Michael Tulysewski
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12   Dated: May 31, 2013                                           Benjamin B. Wagner
                                                                   United States Attorney
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14
                                                           by:     /s/ Michael M. Beckwith
                                                                   MICHAEL M. BECKWITH
15                                                                 Assistant U.S. Attorney
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5                                                 ORDER
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            GOOD CAUSE APPEARING, it is hereby ordered that the June 4, 2013 sentencing
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     hearing be continued to July 9, 2013 at 9:45 a.m. I find that the ends of justice warrant an
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     exclusion of time and that the defendant’s need for continuity of counsel and reasonable time for
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     effective preparation exceeds the public interest. THEREFORE IT IS FURTHER ORDERED
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     that time be excluded pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(ii) and (iv) and Local
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     Codes T2 (unusual and complex case) and T4 (preparation by defense counsel) from June 4,
12   2013 to July 9, 2013.
13   IT IS SO ORDERED.
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     Dated: 5/31/2013                                     /s/ John A. Mendez_____________
15                                                        John A. Mendez
                                                          United States District Court Judge
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